223 F.3d 593 (7th Cir. 2000)
    Ron Harper, Kevin Perkins, William Elliot, and Robert McCoy, Plaintiffs-Appellees, Cross-Appellants,v.City of Chicago Heights and the Chicago Heights  Election Commission, Defendants-Appellants, Cross-Appellees,Ron Harper, Kevin Perkins, William Elliot, and Robert McCoy, Plaintiffs-Appellees, Cross-Appellants,v.Chicago Heights Park District, Defendant-Appellant, Cross-Appellee, and David Orr, Cook County Clerk, Defendant-Appellee.
    Nos.  98-2785, 98-2811, 98-2899, 98-3004, 98-3051, 98-3075, 99-2007, 99-2008, 00-1503, 00-15151
    In the  United States Court of Appeals  For the Seventh Circuit
    Argued April 6, 1999Decided July 27, 2000Rehearing and Rehearing En Banc Denied Aug. 28, 2000.
    
      Appeals from the United States District Court for the Northern District of Illinois, Eastern Division.  Nos. 87 C 5112 &amp; 88 C 9800--David H. Coar, Judge.[Copyrighted Material Omitted]
      Before Kanne, Diane P. Wood, and Evans, Circuit  Judges.
      Diane P. Wood, Circuit Judge.
    
    
      1
      The wheels of  justice have turned slowly in this voting rights  case, which began more than a decade ago and  continues to accrete new appeals almost by the  month. The finding of a violation of Section 2 of  the Voting Rights Act of 1965, 42 U.S.C. sec.  1971 et seq., has long since been established.  Part of the case before us concerns the remedy  for that violation. The district court issued an  opinion on May 28, 1998, in which it ordered the  implementation of a new election method that  relies on cumulative voting. The rest of the many  appeals consolidated with the case, up to and  including those filed in the early spring of the  year 2000, concern attorneys' fees. With respect  to the remedy, we have reluctantly concluded that  the district court moved too quickly in its  understandable desire to put this case to rest.  We therefore must reverse and remand. This in  turn leads us to affirm in part and reverse in  part the district court's grant of attorneys'  fees and expenses.
    
    
      2
      * The facts and procedural history of this case  are set forth in detail in previous opinions. See  Harper v. City of Chicago Heights, 824 F. Supp.  786 (N.D. Ill. 1993); Perkins v. City of Chicago  Heights, 47 F.3d 212 (7th Cir. 1995); Harper v.  City of Chicago Heights, 1997 WL 102543 (N.D.  Ill. March 5, 1997). To summarize, in 1987 Ron  Harper, Kevin Perkins, William Elliot, and Robert  McCoy ("the Class") filed a class action against  the City of Chicago Heights ("the City"),  alleging that the at-large election method used  to elect representatives to the City Council  diluted the voting strength of African-Americans  in violation of Section 2. In 1988, the Class  filed an almost identical suit against the  Chicago Heights Park District ("the Park  District") aimed at changing the at-large  election method used to select the Park District  Board. (Although the Chicago Heights Election  Commission and the Clerk of Cook County were also  named as nominal defendants, these cases have  been defended by the City and the Park District.)  The district court ultimately consolidated the  claims and certified the Class.
    
    
      3
      The Class wanted the court to order the  replacement of the at-large voting systems with  single-member districts and to award it  attorneys' fees and costs. In February 1989, all  parties moved for summary judgment. District  Judge Nordberg denied the defendants' motion and  granted in part and denied in part the Class's  motion. He held that the Class had proven the  three "Gingles" factors, see Thornburg v.  Gingles, 478 U.S. 30 (1986), that are threshold  requirements to a Section 2 vote dilution  claim.2 See Harper, 824 F. Supp. at 792-93.  However, he concluded that genuine issues of  material fact remained with regard to the second  step to proving a vote dilution claim, the so-called "Senate Report Factors," see S. Rep. No.  417, 97th Cong., 2d Sess. 2, 28-29 (1982).3 The cases were then reassigned to District Judge Will for trial.
    
    
      4
      Judge Will conducted pretrial mediation, and a  consent decree resulted. The decree abandoned the  at-large election method and created a new system  of government for both the City and the Park  District. The new plan called for six single-  member districts for the election of six City  Council members and six park board commissioners,  with a mayor and a park board president elected  at large. Three of the districts would be  majority white, two would be majority African-  American, and one would have a majority  population of African-American and Hispanic  residents of voting age. The consent decree plan  was based on the "strong mayor" form of  government authorized by the Illinois Municipal  Code, and it replaced a "commission" form of  government. (The Code allows Illinois cities to  select among several acceptable forms of  government. The "aldermanic" form is the basic  form, see 65 ILCS 5/3.1, but cities may expand  upon the aldermanic form by adopting the  "commission," see 65 ILCS 5/4 et seq.,  "managerial," see 65 ILCS 5/5 et seq., or "strong  mayor," see 65 ILCS 5/6 et seq., forms. Cities  may normally adopt, alter, or repeal a form of  government only through a referendum. Ill. Const.  art. VII, sec. 6(f).)
    
    
      5
      In a development that would later prove  problematic, the consent decree plan departed  from the statutory "strong mayor" form in several  respects. First, instead of five wards with two  aldermen each, the decree called for six wards  with one alderman each. Moreover, the mayor was  authorized to appoint a city clerk and treasurer  (persons usually elected at large), as well as  administrative assistants and a budget and  finance director (positions usually reserved for  cities larger than Chicago Heights). The consent  decree plan also modified the statutorily defined  form of government for Illinois Park Districts.  See 70 ILCS 1205/1-1 et seq. Rather than five  commissioners elected at large, the decree called  for six commissioners, one to be elected from  each ward.
    
    
      6
      Judge Will approved the consent decree over the  objections of Kevin Perkins and Robert McCoy  ("the Individual Plaintiffs"), who had by this  time split from their fellow class  representatives. Perkins and McCoy thus appealed  from the order entering the consent decree (with  Harper, Elliott, the City, the Park District, and  certain nominal defendants listed as appellees).  See Perkins, 47 F.3d 212. This court found merit  in their challenge and held that the district  court should not have approved a consent decree  that overrides state law without making "properly  supported findings that such a remedy is  necessary to rectify a violation of federal law."  Id. at 216 (emphasis removed). Absent a finding  of a violation of federal law, a municipality may  modify a statutorily prescribed form of  government only through a referendum. We vacated  the entire decree and remanded for further  proceedings.
    
    
      7
      By the time the decision in Perkins was handed  down (February 7, 1995), the City's 1995 general  election was approaching. Judge Will ordered that  the election should take place as scheduled, but  in recognition of this court's concerns, he also  directed that the consent decree should be  submitted for voter approval through a  referendum. At the same time, he noted that the  Park District had passed a resolution adopting  the new form of governance specified in the  decree and thus that no further action was  necessary legally to establish the new Park  District structure. On November 7, 1995, Chicago  Heights held a referendum and the voters approved  the new form of city government--which was  modeled on and identical to the form adopted in  the earlier consent decree. Judge Will passed  away shortly thereafter, and these cases, still  on remand to the district court, were reassigned  to District Judge Coar.
    
    
      8
      Following this court's instructions on remand,  Judge Coar first reiterated that the old, at-  large election method violated Section 2, and he  made particularized findings to support this  determination. See Harper, 1997 WL 102543, at  *12. He noted that Judge Nordberg had found the  Gingles factors satisfied; he then considered  evidence and found that the Senate Report Factors  also pointed to a Section 2 violation.  Importantly, neither the City nor the Park  District have challenged this finding of  liability in the present appeal. Next, Judge Coar  considered the appropriateness of the remedy  adopted first in the consent decree and later  through referendum. (We refer in this opinion to  the remedy Judge Coar evaluated for the City as  the "referendum system," and to the remedy  applicable to the Park District as the  "resolution system," to reflect the fact that the  systems under which both entities had operated at  the outset of this litigation had been replaced  by remedial measures.) Expressing concern that  the referendum system preserved rather than  remedied the effects of the former unlawful  at-large laws, he ordered the parties to "propose  new governmental structures and voting maps  designed to remedy the underlying Voting Rights  Act violations." Judge Coar allowed the City, the  Park District, and the Class to rely on the  referendum system for their proposals.
    
    
      9
      As requested, the parties submitted their  proposals. The City, the Park District, and the  Class reaffirmed their support for the referendum  system, disagreeing only on where the lines  dividing the six districts should be drawn.  Perkins and McCoy objected to the solution  adopted by consent and later by referendum,  arguing that the six-member structure negates the  power of the minority representatives because (1)  in practice tie votes have frequently resulted,  with the mayor (who is still elected at large)  usually breaking the tie by voting with the white  aldermen; and (2) the mayor may exercise veto  power, which can be overridden only by a 3/5  majority of the council (i.e. four of the six  aldermen). According to Perkins and McCoy, "the  mayor now acts as a seventh alderman--indeed, a  super alderman, who has the power to appoint two  important City positions and who is not elected  from a single-member district, but rather, is  elected at-large."
    
    
      10
      Perkins and McCoy proposed an "aldermanic" form  of government with seven single-member districts  and a mayor, city clerk, and treasurer elected at  large. For reasons that are unclear, their plan  too departed somewhat from the statutory  aldermanic form, which calls for seven wards with  two aldermen each for cities whose population is  between 20,000 and 50,000. See 65 ILCS 5/3.1-20-  10 &amp; 5/3.1-20-15. Under the aldermanic form of  government, the mayor votes in only two  circumstances to break a tie (a situation that  simple mathematics indicates is less likely to  occur with an odd number of aldermen), or where  a super-majority is required by law. Perkins and  McCoy proposed that lines be drawn to create  three majority-white districts, two majority-  black districts, one majority-Hispanic district,  and one district in which no single group would  be in the majority. For the Park District,  Perkins and McCoy proposed a seven-member board  (whose members would be elected from the seven  districts), which would in turn elect a president  from within its ranks.
    
    
      11
      After reviewing the proposals before him, Judge  Coar rejected the referendum system because it  still did not remedy the original Section 2  violation. See McCoy v. Chicago Heights, 6 F.  Supp.2d 973, 981 (N.D. Ill. 1998). Noting that  "the parties do not explain how a government  structure where the tie-breaking vote is elected  at-large remedies a voting rights violation  predicated on the fact that the at-large system  enhanced discrimination against African-  Americans," id. at 980, Judge Coar found his  concerns justified by the experience under that  system that was accruing, which showed that where  a tie has resulted in the city council, the mayor  has voted with the white aldermen. (With an even  number of aldermen, moreover, ties were not  uncommon.) Judge Coar also noted that the mayor's  authority was further enhanced by allowing him to  appoint the city clerk and treasurer, as well as  administrative assistants and directors. Id. None  of those powers would have belonged to him under  the statutory "strong mayor" government. Finally,  Judge Coar criticized the use of an at-large  method to elect the Park District board  president. Id. Illinois law provides that the  board president may be elected by the board  members, but Judge Coar believed that the use of  an at-large election is particularly problematic  in a seven-member board structure where the  president has the power to cast tie-breaking  votes. Id.
    
    
      12
      Although Judge Coar suggested that the Perkins  and McCoy proposal was legally adequate, id. at  981, he did not embrace it without qualification.  He was concerned that a plan that requires the  drawing of district lines would be the frequent  subject of constitutional attack, recognizing  that his task was to steer between the Scylla of  racially based district lines, e.g., Abrams v.  Johnson, 521 U.S. 74 (1997), Bush v. Vera, 517  U.S. 952 (1996), and Shaw v. Hunt, 517 U.S. 899  (1996), and the Charybdis of ineffectual Section  2 remedies. Noting the support for cumulative  voting expressed by Justices Scalia and Thomas in  Justice Thomas's concurring opinion in Holder v.  Hall, 512 U.S. 874, 912 (1994), Judge Coar  decided to try that approach. Accordingly,  instead of dividing the City into seven  districts, the court's order requires the  establishment of an at-large system that uses  cumulative voting. This came as a surprise to the  parties, who had not proposed any such structure,  but the court cited to literature indicating that  cumulative voting has the benefits of remedying  the vote dilution problem while avoiding the  constitutional challenges that afflict the  drawing of district lines. 6 F. Supp.2d at 982-  83. Judge Coar found this benefit significant  given the line of Supreme Court decisions just  mentioned, and also given the practical fact that  any districting plan he approved would have to be  redrawn following the 2000 census.
    
    II
    
      13
      The City, the Park District, and the Class  attack the district court's holding on several  fronts. First, they argue that the court erred  when it found that the referendum system did not  remedy the Section 2 violation. Because the  modified "strong mayor" plan adopted by the  voters in the referendum is a legally adequate  remedy, they maintain, the district court was  required to accept it. They also suggest that the  referendum results can be set aside only if they  would independently violate Section 2, and that  we should not be worrying about their capacity to  cure the earlier Section 2 violation. Second,  they argue that even if the referendum plan is an  inadequate remedy, the district court's  cumulative voting plan is not an acceptable  alternative. Finally, the City and the Park  District argue that all previous grants of  attorneys's fees must be revisited. We address  these contentions in turn.
    
    A.
    
      14
      Standing behind the district court's judgment is  the earlier finding--unchallenged, as we said--  that the at-large system violated Section 2 of  the Voting Rights Act. We think it was correct  for the court to ask whether the replacement  system eventually approved through referendum  would remedy the violation; there was no need for  the court to view it as if it had emerged from  thin air. See Harvell v. Blythville Sch. Dist.  #5, 71 F.3d 1382, 1386 (8th Cir. 1995); Jenkins  v. Red Clay Consolidated Sch. Dist. Bd. of Educ.,  4 F.3d 1103, 1115-16 (3d Cir. 1992). When a  Section 2 violation has been found, the district  court "must, wherever practicable, afford the  jurisdiction an opportunity to remedy the  violation first, . . . with deference afforded  the jurisdiction's plan if it provides a full,  legally acceptable remedy. . . . But if the  jurisdiction fails to remedy completely the  violation or if a proposed remedial plan itself  constitutes a sec. 2 violation, the court must  itself take measures to remedy the violation."  Dickinson v. Indiana State Election Bd., 933 F.2d  497, 501 n.5 (7th Cir. 1991) (citation and  quotations omitted). We review the district  court's factual findings regarding a Section 2  violation for clear error and its legal  conclusions de novo. Gingles, 478 U.S. at 79. See  also Cousin v. Sundquist, 145 F.3d 818, 822-23  (6th Cir. 1998), cert. denied 525 U.S. 1138  (1999).
    
    
      15
      The district court recognized that courts have  relied upon the three factors set forth in  Gingles, followed by the nine "Senate Report  Factors," in order to decide whether or not a  violation of Section 2 exists. See, e.g., Jenkins  v. Manning, 116 F.3d 685, 690-92 (3d Cir. 1997);  Dillard v. Crenshaw County, Ala., 831 F.2d 246  (11th Cir. 1987). We have no reason here to  question that framework. Using it, Judges  Nordberg and Will evaluated the original plan  proposed to remedy the violation, but Judge Coar  did not perform a similarly detailed evaluation  of the referendum plan, largely because no one  gave him the information he would have needed to  do so. See 6 F. Supp.2d at 978. Instead, he  decided that the findings that made the original  system infirm were equally applicable to the  referendum system. He noted that the problem with  the old system was its use of at-large elections,  which, given the local political environment, put  the positions to be filled beyond the reach of  minority voters. Under the plan adopted by the  referendum, only the tie-breaker is elected at  large, but taken as a whole this had the same  diluting effect as the original at-large system.  It was also significant that, because the voters  had adopted the plan by referendum, the City had  been operating under the plan for some time. This  gave the court concrete evidence of the plan's  effect in reality. That evidence showed that the  at-large mayor voted with the white aldermen in  the cases where a city council vote resulted in  a tie. The court did not make any separate  findings about the operation of the plan in Park  District elections or governance.
    
    
      16
      The evidence of the mayor's pattern of voting  in tie-breaking situations, taken with the  likelihood of ties on an even-numbered council,  is enough to support the district court's  conclusion that the referendum system did not  adequately address the acknowledged problem in  the City elections. It is true, as the City  points out, that the Supreme Court has held that  at-large procedures are not unconstitutional per  se. See Rogers v. Lodge, 458 U.S. 613, 617  (1982); see also United States v. Dallas County  Comm., 850 F.2d 1433, 1438 (11th Cir. 1988)  ("[A]t-large procedures that are discriminatory  in the context of one election scheme are not  necessarily discriminatory under another  scheme.") (citation and quotations omitted).  Nonetheless, we are beyond that point here, given  the state of this litigation. Appellate review  might have been somewhat easier if the district  court had discussed each of the Gingles and  Senate Report Factors in its evaluation of the  limited use of at-large procedures found in the  referendum system, but the critical question in  the end is whether the court's finding of fact  that the newly enacted system would still  discriminate against minority voters was clearly  erroneous. The court pointed to the evidence that  led it to conclude that vote dilution would still  rise to the level of a Section 2 violation. Not  everyone would agree, but we find the court's  conclusion to be within the range of permissible  inferences from this evidence, and hence not  clearly erroneous. We therefore affirm the  district court's rejection of the referendum  system insofar as it is applied to the City.
    
    
      17
      With regard to the Park District, the absence  of evidence of continuing discrimination is  significantly more troubling. The Park District  argues that the resolution system (derived like  the referendum system from the consent decree)  has solved its Section 2 violation the board  president regularly votes with a bloc consisting  of two African-American board members, one  Hispanic, and one white; further, capital  improvement expenditures in African-American and  Hispanic districts have increased substantially,  suggesting that their residents' concerns are  being addressed. Neither the district court's  opinion nor the McCoy and Perkins brief addresses  these contentions. Because the burden of proving  a Section 2 violation lies with the minority  group contesting the current system, see Gingles,  478 U.S. at 50-51, this lack of rebuttal evidence  dooms the challenge to the use of the plan in the  Park District. We reverse the district court's  determination that the plan, as applied to the  Park District, is not a legally adequate remedy.
    
    B.
    
      18
      The question of the appropriateness of the  court's chosen remedy is also a knotty one. On  this point, our review is for abuse of  discretion. See Connor v. Finch, 431 U.S. 407,  415 (1977) (appellate review of a district  court's choice of remedy in a voting rights case  is for abuse of discretion). Even though this  gives great leeway to the judge who is closest to  the problems, we are compelled to find here that  the remedy for the City crafted by the court  cannot stand at this time.
    
    
      19
      The district court's plan suffers from the same  procedural flaw as did the consent decree when it  was first presented to this court the court's  plan modifies the election methods set forth in  the Illinois Municipal Code without either going  through the statutorily required procedures for  making such changes to electoral methods or  making a judicial finding that it was necessary  to make these changes in order to comply with  federal law. As this court explained in Perkins,  after a finding of a Voting Rights Act violation,  the parties were free to adopt and the district  court to approve one of the alternative forms of government  provided by Illinois law. However, the parties  cannot modify the chosen form simply at-will. .  . . Any modifications which must be accomplished  through a referendum cannot be made by the  consent decree unless the court finds that the  statutory provisions would violate federal law  and that such changes are necessary to ensure  compliance with federal law.
    
    
      20
      47 F.3d at 217.
    
    
      21
      The procedural holding in Perkins, while  addressed to a slightly different problem, is  equally applicable here, though we note that  nothing in our earlier opinion disapproved of  cumulative voting in the abstract. The Illinois  Municipal Code makes available to cities a  variety of election methods. The district court  should either have selected one of these methods  or found that the Illinois options violate  federal law. Instead, as it had done before, it  opted for a hybrid system without submitting that  plan to the voters, as Illinois law would  require, and without explaining why one of the  State's authorized systems would not do the job.  Although the Municipal Code allows for cumulative  voting, it specifies that a city is to be divided  into districts (not less than two and not more  than six) and that each district is entitled to  three aldermen. 65 ILCS 5/3.1-15-30 &amp; 5/3.1-15-  35. Without a finding that the Code's cumulative  voting method violates federal law, the district  court modified the plan to call for the city-wide  election of seven council members.
    
    
      22
      The district court's plan also suffers from a  failure to respect the City's preference for  single-member districts. The Supreme Court has  held that in fashioning an electoral system to  remedy a voting rights violation, courts "should  follow the policies and preferences of the State,  as expressed in statutory and constitutional  provisions or in the . . . plans proposed by the  state legislature, whenever adherence to state  policy does not detract from the Federal Constitution." White v. Weiser, 412 U.S. 783, 795  (1973). Accordingly, when a legislative body  fails to offer an acceptable remedy, "the court,  in exercising its discretion to fashion a remedy  that complies with sec. 2, must to the greatest  extent possible give effect to the legislative  policy judgments underlying the current electoral  scheme or the legally unacceptable remedy offered  by the legislative body." Cane v. Worcester  County, Md., 35 F.3d 921, 928 (4th Cir. 1994).
    
    
      23
      Here, the City has demonstrated a clear  preference for single-member districts. It  proposed a remedial plan that relies on single-  member districts and, in doing so, made a policy  judgment about which electoral schemes are best  suited for the locality. We should defer to the  City's plan to the extent possible as long as it  does not violate federal law. See Cane, 35 F.3d  at 927. Although the district court found that  the referendum system was inadequate, it did not  find that any use of single-member districts  violates federal law.
    
    
      24
      The United States, appearing as amicus curiae,  defends the district court's plan on the ground  that, under Illinois law, cumulative voting is an  accepted electoral practice. Thus, the United  States argues, while the district court's plan  may have violated the City's preference for  single-member districts, the State has no such  preference. We find this distinction  unconvincing. First, the United States overstates  the popularity of cumulative voting in Illinois   although cumulative voting is lawful under the  Municipal Code, the use of single-member  districts is an equally acceptable electoral  practice. Moreover, although Weiser talks of  deference to "state policy," a state plan was  under attack in Weiser, and its holding is not so  limited. The City proposed and must function  under the remedial plan and accordingly its  judgments are entitled to deference.
    
    
      25
      It is somewhat troubling that the City has not  articulated why it prefers single-member  districts over cumulative voting, but this is not  an ironclad requirement for public bodies as long  as the entity's actual preference can  legitimately be inferred from facts on the  record. It is obviously true that deference to  legislative policy judgments is predicated on the  legislature actually having made a policy  judgment rather than an arbitrary choice. But we  are satisfied that the City did so. Prior to the  district court's order, the parties had never  thought of cumulative voting. In the absence of  a finding that cumulative voting is the only  legally viable remedy, the City should have an  opportunity to consider the merits and  deficiencies of cumulative voting before that  system is imposed upon it. We emphasize that our  decision should not be understood as a  condemnation of cumulative voting. Cumulative  voting is, as the Illinois Municipal Code makes  clear, a lawful election method that may be  implemented under circumstances demonstrating  suitable deference to the legislative body. It  also has the virtues the district court  identified
    
    
      26
      [R]ather than using race as a proxy for voting  preference, such a system allows voters to draw  their own jurisdictional boundaries, decide which  local governments were most important to them,  and allocate their votes accordingly. . . . All  minority groups may potentially benefit from such  a system--not just racial minorities. . . .  Indeed, cumulative voting does not  compartmentalize voters according to their race.
    
    
      27
      6 F. Supp.2d at 982-83 (quotations and internal  citations omitted).
    
    
      28
      Because we reject the district court's remedy  on other grounds, we need not address the City's  contention that the decision to increase the  number of City Council members from six to seven  violates the rule of Holder v. Hall, supra, which  holds that the size of a governing body is not  subject to a Section 2 vote dilution claim.
    
    III
    
      29
      The remaining issues pertain to the district  court's orders awarding attorneys' fees and  expenses pursuant to Section 14(e) of the Voting  Rights Act, 42 U.S.C. sec. 1973(1)(e), and the  Civil Rights Attorney's Fee Award Act, 42 U.S.C.  sec. 1988. The first award of attorneys' fees  covers the period of time between the beginning  of the suit and the entry of the consent decree.  On December 15, 1994, Judge Will entered an order  that awarded Class Counsel $337,777.98, with  $297,930.65 attributable to the City and  $39,847.33 to the Park District. This award  included a 10% enhancement "to reflect the  excellent results achieved." Although this court  vacated the December 15 award along with the  consent decree, on November 28, 1995, after the  referendum, Judge Will re-entered the fee award.  The Park District paid its portion. The City  initially appealed, but then reconsidered and  asked us to dismiss the appeal. We granted the  motion to dismiss, so there is currently no  dispute as to the fees awarded by Judge Will.
    
    
      30
      Pending, however, are challenges to Judge Coar's  order awarding fees and expenses. On March 26,  1999, Judge Coar awarded Class Counsel $55,665 to  cover fees and expenses incurred after the entry  of the consent decree. (On April 21, 1999, Judge  Coar amended the order, increasing Class  Counsel's award to $65,547.50.) Also on March 26,  Judge Coar awarded Perkins and McCoy's attorneys  $192,803.75; the City is responsible for  $100,868.12 and the Park District for $91,935.63.  Then on February 9, 2000, the court awarded fees  in the amount of $11,065 to the attorneys  representing Perkins and McCoy, for work done  prosecuting their fee petition. The award does  not specify how the fee award breaks down between  the City and the Park District.
    
    
      31
      Both the City and the Park District filed  appeals from all these orders; this court has  consolidated the appeals that reached us after  oral argument in this case with the original  appeals. Although the City initially challenged  Judge Coar's awards of attorneys' fees to the  plaintiffs' counsel, it later asked that that  appeal be dismissed. We granted the motion. Thus,  remaining before us are the City's and the Park  District's appeals of Judge Coar's March 26,  1999, fee award, which also provided the basis  for the February 9, 2000, award of attorneys'  fees to Perkins and McCoy.
    
    
      32
      First, the status of Perkins and McCoy as  "prevailing parties" is at issue. The defendants  then challenge the reasonableness of the fees  awarded.
    
    
      33
      Section 1988 states that in a civil rights  action, "the court, in its discretion, may allow  a prevailing party, other than the United States,  a reasonable attorney's fee as part of its  costs." Because Perkins and McCoy's status as a  prevailing party involves elements of legal  analysis, our review is de novo. See Jaffee v.  Redmond, 142 F.3d 409, 412-13 (7th Cir. 1998).  The Supreme Court has stated that the statutory  threshold for obtaining attorneys' fees under  Section 1988 is "generous." Hensley v. Eckerhart,  461 U.S. 424, 433 (1983). To determine if a party  is "prevailing," courts ask whether:
    
    
      34
      the plaintiff has succeeded on any significant  issue in litigation which achieved some of the  benefit the parties sought in bringing suit. . .  . The touchstone of the prevailing party inquiry  must be the material alteration of the legal  relationship of the parties in a manner which  Congress sought to promote in the fee statute.
    
    
      35
      Texas Teachers Ass'n v. Garland Independent Sch.  Dist., 489 U.S. 782, 791-93 (1989) (citation and  quotations omitted). Once a plaintiff qualifies  for a fee award by meeting this threshold, "the  degree of the plaintiff's overall success goes to  the reasonableness of the award . . ., not to the  availability of a fee award vel non." Id. at 793.
    
    
      36
      Perkins and McCoy are prevailing parties insofar  as they succeeded in their goal of having vacated  what they regarded as an ineffectual consent  decree. That this court did not vacate the decree  based upon the precise arguments they raised, as  the Park District points out, does not matter.  They convinced this court that the decree was  improperly entered, thereby succeeding on a  "significant issue in [the] litigation." Texas  Teachers, 489 U.S. at 791. Recognizing this, the  City chose not to appeal Perkins and McCoy's  prevailing party status so long as the  substantive aspects of this case are upheld on  appeal. (Because we are reversing some aspects of  Judge Coar's decision, we note that the City has  reserved its right to object to Perkins and  McCoy's status in later proceedings.) The Park  District also argues that it should not be liable  for any of the fees incurred by Perkins and  McCoy, because they did not appeal the portions  of the consent decree that applied to the Park  District. See Perkins, 47 F.3d at 217. But the  six-district structure also affected the Park  District, and the final judgment of this court  vacated the entire decree, not just parts of it.
    
    
      37
      These facts also persuade us that the Park  District is being too particular when it asserts  that Perkins and McCoy's earlier appeal was not  directed against it, and that it therefore should  not be responsible for paying fees associated  with that appeal. It is true that most of the  appeal related to the City, but not all of it  did. Judge Coar correctly recognized this on  remand, when he reconsidered both the provisions  applicable to the City and those applicable to  the Park District. The greater problem for  Perkins and McCoy is that we have now rejected  their challenge to the Park District resolution  that implements the earlier consent decree. The  fees to which they are entitled from the Park  District must therefore be reconsidered. The  district court on remand should take into account  both whatever contributions they made to the  liability findings against the Park District, and  their lack of success in changing the remedy for  the Park District.
    
    
      38
      Finally, both the City and the Park District  challenge the reasonableness of the district  court's fee award to Perkins and McCoy. They  allege that (1) counsel for Perkins and McCoy  failed to support their claimed hourly rates with  sufficient evidence that the rates are  reasonable; (2) counsel for Perkins and McCoy  used reconstructed time records rather than  records made at the time the services were  rendered; and (3) counsel for Perkins and McCoy  relied on "cluster billing," i.e. grouping  several different activities into one  description, thus making it impossible to  determine whether the individual activities were  a reasonable expenditure of time. The defendants  maintain that these failings made it impossible  for the district court to determine the  reasonable value of the services provided. The  City also raises a number of challenges to  individual entries in the fee petitions. For  example, it argues that one of the attorneys for  Perkins and McCoy spent an unreasonable amount of  time meeting with his clients.
    
    
      39
      We find no abuse of discretion in the court's  decision to accept the proposed hourly rates. The  reasonable hourly rate (or "market rate") for  lodestar purposes is "the rate that lawyers of  similar ability and experience in their community  normally charge their paying clients for the type  of work in question." Spegon v. Catholic Bishop  of Chicago, 175 F.3d 544, 555 (7th Cir. 1999)  (quotations and citations omitted). The attorneys  for Perkins and McCoy supported their proposed  hourly rates with their own affidavits confirming  the reasonableness of these rates as well as  affidavits from attorneys practicing in the  field. While an attorney's self-serving affidavit  alone cannot establish the market rate for that  attorney's services, such affidavits in  conjunction with other evidence of the rates  charged by comparable lawyers is sufficient to  satisfy the plaintiffs' burden. Id.
    
    
      40
      As to the reasonableness of the hours  expended, when a fee petition is vague or  inadequately documented, a district court may  either strike the problematic entries or (in  recognition of the impracticalities of requiring  courts to do an item-by-item accounting) reduce  the proposed fee by a reasonable percentage. See  Ohio-Sealy Mattress Mfg. Co. v. Sealy Inc., 776  F.2d 646, 651, 657-58 (7th Cir. 1985); see also  Hensley v. Eckerhart, 461 U.S. 424, 433 (1983)  (if plaintiff fails to document hours adequately,  court may reduce award accordingly). Whichever  option the district court chooses, it is required  to "provide a concise but clear explanation of  its reasons for the fee award" that is sufficient  to permit appellate review. Ohio-Sealy Mattress,  776 F.2d at 658, quoting Hensley, 461 U.S. at  437.
    
    
      41
      Perkins and McCoy acknowledge that their bills  were compiled in part from contemporaneous time  records and in part reconstructed. This use of  reconstructed records does not doom their  petition, as there is no per se rule requiring  the submission of contemporaneous time records in  the Northern District of Illinois. However, Judge  Coar, who concluded that their time records  "appear to be contemporaneous," did not address  the reliance on reconstructed records. As it is  within a district court's power to reduce a fee  award because the petition was not supported by  contemporaneous time records, see, e.g., Shakman  v. Democratic Organization of Cook County, 634 F.  Supp. 895, 899 (N.D. Ill. 1986); Rybicki v. State  Bd. of Elections of State of Illinois, 584 F.  Supp. 849, 861 (N.D. Ill. 1984), we reverse and  remand for reconsideration of this issue.
    
    
      42
      For the reasons discussed above, we AFFIRM the  district court's holding that the current  election method violates Section 2 of the Voting  Rights Act as applied to the City; however, we  REVERSE the district court's remedy and REMAND to  the court to craft a suitable remedy. We REVERSE  the district court's holding that the current  election method violates Section 2 as applied to  the Park District. We VACATE in part and AFFIRM in  part the March 26, 1999, order and the February  9, 2000, order granting attorneys' fees and  expenses. Specifically, we AFFIRM the district  court's award of attorneys' fees to Perkins and  McCoy from the City and VACATE and REMAND for  calculation of the precise amount of fees. We  VACATE and REMAND the award of fees to Perkins and  McCoy from the Park District; should the district  court determine on remand that Perkins and McCoy  are entitled to fees for their suit brought  against the Park District, it should reconsider  the amount, taking into account this opinion.  Finally, we do not disturb the award of fees to  plaintiffs' counsel--the Park District did not  appeal that award and we dismissed the City's  appeal of that award on the City's motion. All  parties shall bear their own costs attributable  to this appeal.
    
    
      
        Notes:
      
      
        1
         There was also one other appeal initially brought  by the Chicago Heights Park District (98-2798);  this appeal was dismissed on the Park District's  motion before briefing and oral argument.
      
      
        2
         Those three factors are the preconditions the  Supreme Court set out in Gingles for the  successful maintenance of a vote dilution claim  under the Voting Rights Act. The minority group  must be able to demonstrate (1) that the group is  sufficiently large and geographically compact to  constitute a majority in a single-member  district, (2) that the group is politically  cohesive, and (3) that the white majority votes  sufficiently as a bloc to enable it, in the  absence of special circumstances, usually to  defeat the minority's preferred candidate. 478  U.S. at 50-51.
      
      
        3
         The Report lists the following factors
        (1)  the extent of any history of official  discrimination in the state or political  subdivision that touched the right of the members  of the minority group to register, to vote, or  otherwise to participate in the democratic  process;
        (2)  the extent to which voting in the elections  of the state or political subdivision is racially  polarized;
        (3)  the extent to which the state or political  subdivision has used unusually large election  districts, majority vote requirements, anti-  single shot provisions, or other voting practices  or procedures that may enhance the opportunity  for discrimination against the minority group;
        (4)  if there is a candidate slating process,  whether the members of the minority group have  been denied access to that process;
        (5)  the extent to which members of the minority  group in the state or political subdivision bear  the effects of discrimination in such areas as  education, employment and health, which hinder  their ability to participate effectively in the  political process;
        (6)  whether political campaigns have been  characterized by overt or subtle racial appeals;
        (7)  the extent to which members of the minority  group have been elected to public office in the  jurisdiction;
        [(8)]  whether there is a significant lack of  responsiveness on the part of elected officials  to the particularized needs of the members of the  minority group; and
        [(9)]  whether the policy underlying the state or  political subdivision's use of such voting  qualification, prerequisite to voting, or  standard, practice, or procedure is tenuous.
        Sen. Judiciary Comm. Rept. at 28-29.
      
    
    